Case 2:04-cr-20229-SHI\/|-dkv Document 122 Filed 08/23/05 Page 1 of 3 Page|D 169

 

IN THE UNITED sTATEs DIsTRIcT CoURT FH*ED BY ~--- D~¢
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UNITED sTATEs oF AMERICA, CLEH€U`S.-'}PSTRICTCO|M
WID 95 .*;_*E‘\)§P'r'HS

VS. NO. 04~20229*Ma

WAHIB IBRAHIM,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the defendant’s August 19, 2005, motion
to reset the sentencing of Wahib Ibrahim, which is presently set
for August 26, 2005. For good cause shown, the motion is

granted. The sentencing of defendant Wahib Ibrahim is reset to

Tuesday, September 20, 2005, at 9:OO a.m.

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It is so ORDERED this q' day of August, 2005.

M<//WL._._

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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EsSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

 

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